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IN THE UNITED sTATES DISTRICT COURT F"£D H""' 911
FOR THE WESTERN DISTRICT oF TENNESSEE 05 J

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BARRYJ. FIALA, INC., W-D~ <JF `ft:;1 tenants

Plaintiff,
VS. No. 02_2248-Ma/An

STORED VALUE SYSTEMS, INC.,

Defendant.

 

ORDER OF REFERENCE

 

Before the Court is Plaintift`s June l, 2005 Motion for Protective Order and to Quash the
Subpoena for the Deposition ofRichard M. Carter. The motion is hereby referred to the Magistrate
Judge for a determination Any exceptions to the Magistrate’s report Shall be made Witln'n ten (10)
days of the report, setting forth particularly those portions of the order excepted to and the reasons
For the exceptions

IT rs so oRDERED this 3 ‘* day ofJune, 2005.

SAMUEL I-I. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Russell H. Walker

WALKER MCKENZIE & WALKER, P.C.
6363 Poplar Avenue

Ste. 434

1\/lemphis7 TN 38119

Paul HoWard Morris

MARTIN TATE MORROW & MARSTON
6410 Poplar Ave.

Ste. 1000

1\/lemphis7 TN 38119

Jason F. Hoffman

HOWREY SIMON ARNOLD & WH[TE LLP
1299 Pennsylvania Avenue N. W.

Washington, DC 20004

Jonathan C. Hancock
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/lemphis7 TN 38103

J. lay Guiliano

HOWREY SIMON ARNOLD & WH[TE LLP
1299 Pennsylvania Avenue N. W.

Washington, DC 20004

Alan M. Fisch

HOWREY SIMON ARNOLD & WH[TE LLP
1299 Pennsylvania Avenue N. W.

Washington, DC 20004

Kelly A. Clement

HOWREY SIMON ARNOLD & WH[TE LLP
1299 Pennsylvania Avenue N. W.

Washington, DC 20004

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Richard M. Carter

MARTIN TATE MORROW & MARSTON
6410 Poplar Ave.

Ste. 1000

1\/lemphis7 TN 38119

Barry E Bretschneider
MORRISON & FOERSTER, LLP
1650 Tysons Blvd.

Ste. 300

1\/chean7 VA 22102

Honorable Samuel Mays
US DISTRICT COURT

